        Case 2:17-cv-00558-NBF Document 303-1 Filed 11/12/19 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


WALSH/GRANITE JV,

                   Plaintiff,

       v.

HDR ENGINEERING, INC.,

                   Defendant.

HDR ENGINEERING, INC.,                               Civil Action No. 2:17-cv-00558-NBF

                   Consolidated Plaintiff,

       v.

WALSH/GRANITE, JOINT VENTURE, ET
AL.,

                   Consolidated Defendants.

 ORDER GRANTING WALSH/GRANITE, JV AND CONSOLIDATED DEFENDANTS’
        MOTION TO EXCLUDE THE TESTIMONY OF ZANE SADIK.

       AND NOW, this __ day of __________, 20__, upon consideration of the Motion to

Exclude the Testimony of Zane Sadik by Walsh/Granite, Joint Venture and the Consolidated

Defendants, their Memorandum in Support, and accompanying pleadings, declarations, deposition

testimony, admissions on file, and other parts of the record, as well as the Response in Opposition

filed by HDR, Walsh/Granite and the Consolidated Defendants’ Reply Brief, and HDR’s Sur-

Reply Brief, and the parties’ arguments at a Motions Hearing,

       IT IS HEREBY ORDERED that Walsh/Granite and the Consolidated Defendants’ Motion

is GRANTED.
        Case 2:17-cv-00558-NBF Document 303-1 Filed 11/12/19 Page 2 of 2



        IT IS FURTHER ORDERED that, as a result of the Court granting Walsh/Granite and the

Consolidated Defendants’ Motion, Mr. Sadik shall be prohibited from testifying at any trial or

hearing in this matter.




                                           Nora Barry Fischer
                                           United States District Judge


cc/ecf: All counsel of record.




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